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                        UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF LOUISIANA
                            ALEXANDRIA DIVISION


 VML ET AL                                      CASE NO. 1:25-CV-00550 SEC P

 VERSUS                                         JUDGE TERRY A. DOUGHTY

 MELLISSA B HARPER ET AL                        MAG. JUDGE PEREZ-MONTES


                              MEMORANDUM ORDER

       Before the Court is a Petition for Writ of Habeas Corpus (ECF No. 1) and an

 Emergency Motion for Temporary Restraining Order (ECF No. 2) filed on behalf of

 VML. VML is ostensibly a two-year-old United States citizen. See id. On April 24,

 2025, this Court received a Petition contending that VML was being deported,

 alongside her illegal-immigrant mother, to Honduras. ECF No. 2. Of course, “It is

 illegal and unconstitutional to deport, detain for deportation, or recommend

 deportation of a U.S. citizen.” See Lyttle v. United States, 867 F.Supp.2d 1256 (M.D.

 Ga. 2012) (citing Tuan Anh Nguyen v. Immigration & Naturalization Serv., 533 U.S.

 53, 67 (2001) (affirming that a citizen has the “absolute right to enter [the United

 States] borders”); Shapiro v. Thompson, 394 U.S. 618, 629 (1969) (“This Court long

 ago recognized that the nature of our Federal Union and our constitutional concepts

 of personal liberty unite to require that all citizens be free to travel throughout the

 length and breadth of our land uninhibited by statutes, rules, or regulations which

 unreasonably burden or restrict this movement.”), overruled on other grounds by

 Edelman v. Jordan, 415 U.S. 651, 670–71 (1974). The Government contends that this
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 is all okay because the mother wishes that the child be deported with her. See ECF

 No. 5-1. But the Court doesn’t know that. Seeking the path of least resistance, the

 Court called counsel for the Government at 12:19 p.m. CST, so that we could speak

 with VML’s mother and survey her consent and custodial rights. The Court was

 independently aware at the time that the plane, tail number N570TA, was above the

 Gulf of America. The Court was then called back by counsel for the Government at

 1:06 p.m. CST, informing the Court that a call with VML’s mother would not be

 possible, because she (and presumably VML) had just been released in Honduras. In

 the interest of dispelling our strong suspicion that the Government just deported a

 U.S. citizen with no meaningful process,

       IT IS ORDERED that the matter be set for hearing at 9:00 a.m. on May 16,

 2025, at the Monroe Federal Courthouse, 201 Jackson St, Monroe, LA, 71201.

       MONROE, LOUISIANA, this 25th day of April, 2025.




                                                        Terry A. Doughty
                                                   United States District Judge
